From: Lynn Wright
         Case 9:18-cv-80176-BB Document 185-1 Entered on FLSD Docket 05/08/2019 Page 1 of 1
Sent: Tuesday, February 15, 2011 2:17 AM
To: 'Dave Kleiman'
CC: craig.wright@Information-defense.com
Subject: RE: Link to R&D site


Either or.... you choose

 -----Original Message-----
 From: Dave Kleiman [mailto:dave@davekleiman.com]
 Sent: Tuesday, 15 February 2011 11:46 AM
 To: craig.wright@information
 Cc: lynn.wright@information-defense.com
 Subject: RE: Link to R&D site

 Wright Kleiman Information Security ....... W&K Info Defense ......

 -----Original Message-----
 From: craig.wright@information [mailto:craig.wright@information-defense.com]
 Sent: Monday, February 14, 2011 19:43
 To: Dave Kleiman
 Cc: lynn.wright@information-defense.com
 Subject: Re: Link to R&D site

 Lynn?

 sent from my Telstra NEXTG™ handset

 ----- Reply message -----
 From: "Dave Kleiman" <dave@davekleiman.com>
 Date: Tue, Feb 15, 2011 11:35
 Subject: Link to R&D site
 To: "craig.wright@information" <craig.wright@information-defense.com>
 Cc: "lynn.wright@information-defense.com" <lynn.wright@information-defense.com>


 I sent an email to see if there is an expedited or online way to accomplish.

 In any case, how about a name?



 -----Original Message-----
 From: Dave Kleiman
 Sent: Monday, February 14, 2011 19:13
 To: 'craig.wright@information'
 Cc: 'lynn.wright@information-defense.com'
 Subject: RE: Link to R&D site

 Hmmm. I am all ears on suggestions. But I see no way of filing for LLC or Non profit in time, you have any ideas?

 I have files 3 fictitious business names I can easily apply for another if needed:

 http://www.sunbiz.org/scripts/ficidet.exe?action=DETREG&docnum=G06303900172&rdocnum=G06303900172

 http://www.sunbiz.org/scripts/ficidet.exe?action=DETREG&docnum=G98287000005&rdocnum=G98287000005

 Let me know.

 Dave
